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 6

 7                               IN THE UNITED STATES DISTRICT COURT

 8                          FOR THE NORTHERN DISTRICT OF CALIFORNIA

 9                                             SAN JOSE DIVISION

10

11   UNITED STATES OF AMERICA,             )               No. CR 15-00226 EJD
                                           )
12                     Plaintiff,          )               DEFENDANT DOUGLAS STORMS
                                           )               YORK’S PROPOSED JURY
13                                         )               INSTRUCTIONS REGARDING COUNT
     vs.                                   )               ONE
14                                         )
                                           )
15                                         )
     DOUGLAS STORMS YORK,                  )               Trial Date: August 25, 2015
16                                         )
                       Defendant.          )
17   _____________________________________ )               Honorable Edward J. Davila

18

19           Defendant Douglas Storms York, by and through Assistant Federal Public Defender Graham

20   Archer, submits these proposed jury instructions regarding count one for the Court’s consideration.

21

22   Dated: August 26, 2015                                 Respectfully submitted,

23
                                                            STEVEN G. KALAR
24                                                          Federal Public Defender

25                                                               s/
                                                            GRAHAM ARCHER
26                                                          Assistant Federal Public Defender

     Def.’s Proposed Jury Instructions Re: Count One
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 1              Defendant York’s Instruction Re: Count One - First Element of Offense

 2                           INTENT AND MATERIALITY REQUIREMENT

 3           Mr. York is charged in Count One of the Indictment with fraud while impersonating a

 4   federal employee in violation of Title 18, section 912 of the United States Code.

 5           With regard to the first element of this offense, which requires the government to prove

 6   that Mr. York falsely pretended to be an employee acting under the authority of the United States

 7   Internal Revenue Service, the government must prove beyond a reasonable doubt that Mr. York,

 8   by artifice and deceit, sought to cause Mr. Hessenflow to follow some course that he would not

 9   have pursued but for the deceitful conduct.

10           Additionally, the government must prove beyond a reasonable doubt materiality: either

11   that the statement was capable of influencing Mr. Hessenflow or that Mr. York had an

12   expectation that Mr. Hessenflow would actually or reasonably rely on the statement.

13

14   Neder v. United States, 527 U.S. 1, 23 (1999) (in fraud statute, court “must presume that
     Congress intended to incorporate materiality unless the statute otherwise dictates”)(“Materiality”
15   focuses on whether the statement or scheme had the natural tendency to influence or was capable
     of influencing the intended victim”). See Neder v. United States, 527 U.S. 1, 16, 119 S.Ct. 1827;
16   144 L.Ed.2d 35 (1999); U.S. v. Watkins, 278 F.3d 961, 964-65 (9th Cir. 2002) (court must
     examine settled meaning of statutory language in fraud statute under common law); Watkins, 278
17   F.3d at 968 (stating that because statute requires intent to defraud or mislead, it “presupposes a
     desired effect on a third party, an effect best understood as an expectation of reliance, we
18   conclude as a matter of plain meaning that materiality is an element of the felony misbranding
     offense”); Watkins, 278 F.3d at 966 (“one still cannot ‘intend to mislead’ another by means of a
19   misrepresentation without having an expectation that the recipient would actually or reasonably
     rely on it”); Watkins, 278 F.3d at 964-65 (in mislabling statute, defendant successfully argued
20   that government must prove “(1) the misrepresentation would have a material effect on any
     decision to buy or consume the product, or (2) the person who makes the misrepresentation has
21   reason to believe that the misstatement would induce the reliance of others in making those
     decisions”).
22
     United States v. Lepowitch, 318 U.S. 702 (1943) (holding that predecessor statute to section 912
23   requires that a defendant have, by artifice and deceit, sought to cause the deceived person to
     follow some course he would not have pursued but for the deceitful conduct; thus, separate
24   statutory element of “intent to defraud” was redundant)), superseded by statute to delete
     redundant “intent to defraud” language, see 62 Stat. 742 (1948), 18 U.S.C.A. § 912, Historical
25   and Statutory Notes (“The words ‘with the intent to defraud the United States or any person’,
     contained in said § 76 of Title 18, U.S.C., 1940 ed., were omitted as meaningless in view of
26   United States v. Lapowich [sic], 63 S.Ct. 914.”).

     Def.’s Proposed Jury Instructions Re: Count One
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 1   Defendant York’s Limiting Instruction Re: Count One - Second Element of Offense

 2                                REQUIREMENT OF ADDITIONAL ACT

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 4           Mr. York is charged in Count One of the Indictment with fraud while impersonating a

 5   federal employee in violation of Title 18, section 912 of the United States Code.

 6

 7           With regard to the second element of this offense, that Mr. York acted in such a manner

 8   as an employee of the United States Internal Revenue Service, it is insufficient for the

 9   government to prove a mere repetition of the false representation.

10

11           In order for each of you to find Mr. York guilty of this offense, the government must

12   prove beyond a reasonable doubt, an additional act by Mr. York that went beyond falsely stating

13   that he was an IRS employee engaged in an investigation of tax records.

14

15

16   United States v. Larson, 125 F.Supp 360 (D.C. Alaska 1954) (holding that an indictment which
     charged that the defendant impersonated a United States officer and falsely took upon himself to
17   act as such, “in that he falsely stated to (a named person) that he was a special agent of the
     Federal Bureau of Investigation engaged in the investigation of a criminal violation” did not state
18   an offense)(citations omitted).

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     Def.’s Proposed Jury Instructions Re: Count One
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